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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


In re:                                                                    Case No.: 3:24-bk-00496-BAJ

GENIE INVESTMENTS NV, INC.                                                Chapter 11

                 Debtor.



                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY a copy of the Order dated June 18, 2024 Granting Motion to Extend

Exclusive Periods for the Filing and Solicitation of Acceptance of a Chapter 11 Plan (Extending to October

18, 2024) (Doc 137) has been furnished by either U.S. Mail, postage prepaid and/or CM/ECF electronic

filing to United States Trustee and to all interested parties as per the attached Court’s Matrix; this 24th day

of June, 2024.

                                                           Law Offices of Mickler & Mickler

                                                           By: _/s/ Bryan K. Mickler______
                                                               Bryan K. Mickler
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